                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



  Latasha S. Galloway aka Latasha Shereece                             CHAPTER 13
  Calloway aka Latasha Galloway
                                 DebtorfsJ


  Lakeview Loan Servicing, LLC
                                 Secured Creditor                   NO. 20-00681 RNO
                 vs.



  Latasha S. Calloway aka Latasha Shereece
  Calloway aka Latasha Calloway
                                 Debtorfs)                          11 U.S.C. Section 362


  Charles J. DeHart, III Esq.
                                 Trustee


                                              STIPULATION


         AND NOW,it is hereby stipulated and agreed by and between the undersigned as follows:

         1.      The Order entered on August 17, 2020 is hereby vacated, and the automatic stay as

  to Secured Creditor is hereby reinstated.

         2.      The post-petition arrearage on the mortgage held by the Secured Creditor on the

  Debtor's residence is $12,139.00, which breaks down as follows;

   Post-Petition Payments:       July 2020 through November 2020 at $2,135.60/month
   Fees & Costs Relating to Motions: $ 1,461.00
   Total Post-Petition Arrears       $12,139.00

         3.      The Debtor shall cure said arrearages in the following manner;

                 a)      Within fifteen (15) days of the filing of this Stipulation, Debtor(s) shall

  tender a down payment of$6,408.00.

                 b)      Beginning December I, 2020 and continuing through May 2021, until the

  arrearages are cured, Debtor(s) shall pay the present regular monthly payment of $2,135.60 on the

  mortgage (or as adjusted pursuant to the tenns of the mortgage) on or before the first(C) day of




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  each month (with late charges being assessed after the            of the month), plus an installment

  payment of $955.17 for December 2020 through April 2021 and $955.15 for May 2021 towards the

  arrearages on or before the last day of each month at the address below:

                                               M&T Bank
                                               PO Box 840
                                           Buffalo, NY 14240

                 c)      Maintenance of current monthly mortgage payments to the Movant

  thereafter.


          4.     Should debtor(s) provide sufficient proof of payments (front & back copies of

  cancelled checks and/or money orders) made, but not credited, Movant shall adjust the account

  accordingly.

          5.     In the event the payments under Section 3 above are not tendered pursuant to the

  terms of this stipulation, the Secured Creditor shall notify Debtor(s) and Debtor's attorney of the

  default in writing and the Debtors may cure said default within FIFTEEN (15) days of the date of

  said notice. If Debtor(s) should fail to cure the default within fifteen (15) days, the Secured Creditor

  may file a Certification of Default with the Court and the Court shall enter an Order granting the

  Secured Creditor relief from the automatic stay.

          6.     The stay provided by Bankruptcy Rule 4001(a)(3) is waived.

          7.     If the case is converted to Chapter 7, the Secured Creditor shall file a Certification of

  Default with the court and the court shall enter an order granting the Secured Creditor relief from

  the automatic stay.

          8.     If the instant bankruptcy is terminated by either dismissal or discharge, this

  agreement shall be null and void, and is not binding upon the parties.




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          9.     The provisions of this stipulation do not constitute a waiver by the Secured Creditor

  of its right to seek reimbursement of any amounts not included in this stipulation, including fees and

  costs, due under the terms of the mortgage and applicable law.

          10.    The undersigned seeks court approval ofthis stipulation.

          11.    The parties agree that a facsimile signature shall be considered an original signature.


  Date: November 19, 2020                        /s/ Rebecca A. Solarz. Esquire
                                                 Rebecca A. Solarz, Esquire
                                                 Attorney for Secui-ed Creditor




  Date:
                                                 Tullio DeLuca Esq.
                                                 Attomey for Debtor(s)




  Date:
          12/16/2020
                                                 Charles J. DeHart, III Esq.
                                                 Chapter 13 Trustee
                                                 Attorney for Trustee




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